     Case 2:20-cv-00132-GJS Document 19 Filed 07/14/20 Page 1 of 2 Page ID #:975

                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES - GENERAL
 Case                                                                   Date     July 14, 2020
 No.            2:20-cv-00132-GJS
 Title          Antonio De Jesus Perez v. Andrew Saul



 Present:                  Hon. Gail J. Standish, United States Magistrate Judge
                    E. Carson                                              N/A
                  Deputy Clerk                                   Court Reporter / Recorder
          Attorneys Present for Plaintiff:                 Attorneys Present for Defendant:
                    None present                                        None present

 Proceedings:           (IN CHAMBERS) ORDER TO SHOW CAUSE


      On January 6, 2020, Plaintiff filed a Complaint seeking review of Defendant
Commissioner of Social Security’s (“Defendant”) denial of his application for benefits.
[Dkt. 1.] On April 22, 2020, Defendant filed an Answer and lodged the administrative
record. [Dkts. 14, 15.] Pursuant to the Court’s initial order, Plaintiff’s Opening
Memorandum was due on May 27, 2020. [See Dkt. 6.] On May 29, 2020, Plaintiff
received an extension of time to July 1, 2020 to file his Opening Memorandum. [See
Dkt. 17.]

      The July 1 deadline for filing an Opening Memorandum has expired and Plaintiff
has neither filed his Memorandum nor another request for an extension of time to do so.
Thus, it is unclear that Plaintiff intends to pursue this action.

       Accordingly, Plaintiff is ORDERED TO SHOW CAUSE why this action should
not be dismissed without prejudice, pursuant to Rule 41(b) of the Federal Rules of
Procedure, based upon his failures to comply with the Court’s Orders and to file his
Memorandum. By no later than August 4, 2020, Plaintiff shall file a response to this
Order explaining his noncompliance. Alternatively, Plaintiff may satisfy his response
obligation by simply filing his Memorandum; indeed, this course of action is preferable,
as it will move this case forward.


                                                                                    Initials of preparer _efc___
CV-90 (10/08)                          CIVIL MINUTES - GENERAL                                      Page 1 of 2
     Case 2:20-cv-00132-GJS Document 19 Filed 07/14/20 Page 2 of 2 Page ID #:976

                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES - GENERAL
 Case                                                          Date   July 14, 2020
 No.            2:20-cv-00132-GJS
 Title          Antonio De Jesus Perez v. Andrew Saul



      If Plaintiff files his Memorandum in Support of Complaint in compliance with the
Order to Show Cause all other deadlines required by the Case Management Order will be
extended accordingly.

     Plaintiff is cautioned that the failure to comply with this Order To Show
Cause on a timely basis – whether by filing a response or, preferably, filing his
Memorandum – will result in the dismissal of this action under Rule 41(b).


IT IS SO ORDERED.




                                                                         Initials of preparer _efc___
CV-90 (10/08)                        CIVIL MINUTES - GENERAL                             Page 2 of 2
